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     UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, et al., Plaintiffs,                  Defendant Case No.: 3:22-CV-00211-SDD-RLB
v.
KYLE ARDOIN, IN HIS OFFICIAL CAPACITY
AS LOUISIANA SECRETARY OF STATE,


 EDWARD GALMON, SR., et al., Plaintiffs,             Defendant Case No.: 3:22-CV-00214-BAJ-
                                              RLB
v.
KYLE ARDOIN, IN HIS OFFICIAL CAPACITY
AS LOUISIANA SECRETARY OF STATE


      LOUISIANA LEGISLATIVE BLACK CAUCUS OPPOSITION DEFENDANT STATE
         OFFICIALS' EMERGENCY MOTION TO CANCEL REMEDY HEARING

With all due respect to the Attorney General (and candidate for governor) whose name is so

prominently displayed in the motion at issue and the memorandum in support of same;

Defendants lay a trap for Plaintiffs with this motion.


It may be technically true that if the issues stay perfectly squared up and all parties proceed with

deliberate speed the permanent injunction might barely have enough time to be prosecuted to

final judgment before the 2024 elections. The problem is that neither deliberate speed nor the

issues being squared up are likely events without the existence of a remedy fixed by the Court.


Plaintiffs have established the right to have a remedy in place while the case proceeds. That

ruling has been appealed but the 5th Circuit Court of Appeal denied three emergency stay

motions due to a lack of strong showing that the appeal had a likelihood of success and has
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expedited the appeal of the preliminary injunction to the point that the appeal may be decided

before a decision on the remedy.


The Court allowed the Louisiana legislature an opportunity to cure the Voter Rights Act violation

and the legislature declined to do so. There will be another legislative session in 2024 before the

2024 elections and intervenor Louisiana Legislative Black Caucus believes that when faced with

a loss in the 5th Circuit on the preliminary injunction the legislature will follow the Alabama

model. It has been widely reported that after the United States Supreme Court 1 affirmed the

determination that the plaintiffs in Alabama established that the plaintiffs would probably prevail

in a case remarkably like this one, Alabama then adopted a new congressional district map on

July 21, S.B. 5, called “the Livingston Plan.” The “Livingston Plan” did not create a second

majority minority district and the case remains in litigation. 2 There would be little time in the

present case to address a new map adopted by the Louisiana legislature in the 2024 session,

making it very possible that the Louisiana 2024 congressional elections would be held using a

new, but still illegal map.


If this Court goes forward as scheduled with the hearing on the remedial plan the remedial plan

would establish the congressional districts until the Court modifies the order. This protects the

rights of the Plaintiffs and avoids the trap.


                                                      Respectfully submitted,

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1 Allen v. Millican 599 U. S. ____ (6/8/2023)
2 Singleton v. Allen Case 2:21-cv-01530 (N.D. Ala.)
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                                 CERTIFICATE OF SERVICE


I do certify that on this 38th day of August 2023, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel of record.



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